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                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT COURT OF FLORIDA

                                    CASE NO.: 1:19-cv-22875-BB


  WINDY LUCIUS,

         Plaintiff,

  vs.

  SURF STYLE, INC.,

         Defendant.
                                                       /


                              DEFENDANT’S INSPECTION REPORT


          Defendant, Surf Style, Inc. (“Defendant”) has been sued by the Plaintiff, Windy Lucius

  (“Plaintiff”) for failure to provide equally effective communications on its website under the

  Title III of the Americans with Disabilities Act. On August 8, 2019, this Court issued its ORDER

  IN ACTIONS BROUGHT UNDER THE AMERICANS WITH DISABILITIES ACT requiring

  Defendant to file its inspection report. Defendant’s report is below:

         1.      The result of the Defendant’s inspection of each alleged violation:

                 Attached and marked as Exhibit “A”.

         2.      The specific defenses applicable to each claim set forth in the “Plaintiff’s

  Inspection Report.” The Plaintiff’s issue is now moot as the Defendant has updated the subject

  website and is in compliance with Title III of the Americans with Disabilities Act.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 4th day of September 2019, the foregoing was filed

  electronically with the Clerk of Court using CM/ECF which will send notice of electronic filing

  to the following counsel of record:
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                                    Exhibit "A"
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                                    Exhibit "A"
